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 6

 7                               UNITED STATES DISTRICT COURT
 8
                               EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,           )               Case No. 2:11-cr-00275-JAM
11
                                         )
12                     Plaintiff,        )               MOTION AND [PROPOSED]
                                         )               ORDER FOR RETURN OF
13                     v.                )               DEFENDANT’S PASSPORT
                                         )
14
     THOMAS W. JOPSON,                   )
15                                       )
                       Defendant.        )
16   ____________________________________)
17

18
             Comes now the defendant, Thomas W. Jopson, by and through his attorney, William J.
19   Portanova, and hereby moves the Court for an order directing the U.S. District Court Clerk to
20   provide Mr. Jopson’s passport to defense counsel.
21           On July 28, 2015, defendant Thomas W. Jopson was sentenced to one year and one day
22   imprisonment in the U.S. Bureau of Prisons and the case is now closed. Mr. Jopson began
23   serving his sentence on November 1, 2015 at U.S. Penitentiary Lompoc. Mr. Jopson completed
24   his sentence on April 2, 2016. As a special condition of release, Mr. Jopson was required to
25   surrender any passports he had to the Clerk of the Court. Mr. Jopson surrendered his passport
26   as ordered on June 23, 2011.
27   ///
28

     MOTION AND [PROPOSED] ORDER FOR RETURN OF DEFENDANT’S PASSPORT
         Case 2:11-cr-00275-JAM Document 352 Filed 04/28/16 Page 2 of 2




 1          Accordingly, Mr. Jopson now seeks an order from this Court directing the U.S. District

 2   Court Clerk to provide his passport to defense counsel.

 3

 4                                                       Respectfully Submitted,

 5
     DATED: April 27, 2016                               /s/ William J. Portanova
 6                                                       ___________________________________
 7
                                                         WILLIAM J. PORTANOVA
                                                         Attorney for Thomas W. Jopson
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 9
     IT IS SO ORDERED.
10
     DATED: April 28, 2016                               ___________________________________
11                                                       THE HON. EDMUND F. BRENNAN
                                                         United States Magistrate Judge
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     MOTION AND [PROPOSED] ORDER FOR RETURN OF DEFENDANT’S PASSPORT
